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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA, the                     )
STATE OF TEXAS, ex rel.                           )       Civil Action No. 4:18-cv-00123
HICHEM CHIHI,                                     )
                                                  )
                       Plaintiff-Relator,         )
                                                  )       Judge George C. Hanks, Jr.
                 v.                               )
                                                  )       Magistrate Andrew M. Edison
CATHOLIC HEALTH INITIATIVES, et al.               )
                                                  )
                       Defendants.                )


                                NOTICE OF APPEARANCE

       Please take notice that the undersigned attorney is entering an appearance in the above-

styled and numbered cause as counsel of record for Defendant APNIX:

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       Please provide copies of all correspondence, pleadings or other documents in this case

going forward.

       DATED this the 27th day of November, 2019.
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                                            Respectfully submitted,


                                            /s/ Michael E. Clark
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 27, 2019, a true and exact copy of the
foregoing pleading has been filed electronically. Notice of this filing will be sent by operation of
the Court’s electronic filing system to all parties indicated on the electronic filing receipt.


                                                     s/ Michael E. Clark
                                                     Michael E. Clark




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